
The Coukt
stopped Mr. Porter on the 1st point; saying it had been decided in the case of Thompson v. Lacy, at March adjourned court, at Washington, 1802, [ante, 79,] that a resident of Alexandria, arrested here, must give special bail, although no previous writ had been issued against him in Alexandria county; and after further argument the Court (nem. con.') ruled the defendant to give special bail; being of opinion,
1. That the Act of Assembly of Maryland did not apply, inasmuch as there was but one county in this district subject to the law of Maryland. The Court had considered the two counties, for several purposes, as two separate States ; slaves imported into Washington from Alexandria had been decided to be imported from another State. Process does -not run from one county to the other.
2. That the law of practice of England, not to hold to. bail in an action on a judgment does not apply, because this is not the jurisdiction under which the original judgment was rendered. The reason of the decisions in England, was the oppression and vexation of holding to bail, a second time, when the plaintiff might have had execution.
3. That the law of Virginia for not holding to bail, being also founded upon the supposed vexation or oppression of twice holding to bail, can only apply to the same jurisdiction.
